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05
                              UNITED STATES DISTRICT COURT
06                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
07
     UNITED STATES OF AMERICA,            )
08                                        )
                 Plaintiff,               )
09                                        )             Case No. 06-615M
           v.                             )
10                                        )
     ISRAEL ILLIJASH DAVIS,               )             DETENTION ORDER
11                                        )
                 Defendant.               )
12   ____________________________________ )

13 Offense charged:

14          Distribution of Methamphetamine in violation of 21 U.S.C. §§ 841(a)(1).

15 Date of Detention Hearing: November 22, 2006.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

18         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

19          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant

20 is a flight risk and a danger to the community based on the nature of the pending charges.

21 Application of the presumption is appropriate in this case.

22          (2)     Defendant has stipulated to detention, but has reserved the right to contest his

23 continued detention if there are new circumstances that should arise.

24          (3)     There are no conditions or combination of conditions other than detention will

25 reasonably assure the appearance of the defendant as required or address the issues of safety to

26 the community.

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         IT IS THEREFORE ORDERED:

02         (1)   Defendant shall be detained pending trial and committed to the custody of the

03               Attorney General for confinement in a correction facility separate, to the extent

04               practicable, from persons awaiting or serving sentences or being held in custody

05               pending appeal;

06         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

07               counsel;

08         (3)   On order of a court of the United States or on request of an attorney for the

09               government, the person in charge of the corrections facility in which defendant

10               is confined shall deliver the defendant to a United States Marshal for the purpose

11               of an appearance in connection with a court proceeding; and

12         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

13               counsel for the defendant, to the United States Marshal, and to the United States

14               Pretrial Services Officer.

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                                                       A
                 DATED this 22nd day of November, 2006.
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17                                                     JAMES P. DONOHUE
                                                       United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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